                        4:-}osEPH M. Todd, RC.-d^
                                       ATTO RN EYS     AT     LAW
                                              TODD BUILDING
                                         104 SOUTH MAIN STREET

lOSEPH M. TODD                            lONESBORO. GA 30236                          T:   (770)477-7878

IILLiAN M. TODD                                                                        F:   (770)477-5357




                                           October 11, 2023



  VIA EMAIL- nvanvvev@dckalbcountvga.gov
  Honorable Alvin T. Wong
  Dekalb County State Court
  556 North McDonough Street
  Decatur. GA 30030


  VIA EMAIL -brittanv Dolcv@gand.uscoui ts.gov
  Honorable Leigh Martin May
  US District Court
  Richard B. Russell Federal Building
  75 Ted Turner Drive SW
  Atlanta, GA 30303


  VIA EMAIL - mnichols@favettecountyga.gov
   Honorable Presiding .ludge
   Fayette County Superior Court
  Fayette County Justice Center
   One Center Drive
   Fayetteville, GA 30214

   VIA EMAIL -lisa.iudgcwilsonsofficc@gmail.com
   Honorable Thomas Wilson
   Butts County Superior Court
   Butts County Judicial Center
   625 West Third Street
   .lackson, GA 30233


   VIA EMAIL - svdnvioncs@co.henrv.ga.us
   Honorable Vincent Lotti
   Henry County State Court
   One Judicial Center, Suite 120
   44 John Frank Ward Boulevard
   McDonough, GA 30253

                  RE:      Conflicts for Tuesday. October 17, 2023


   Dear Judges, Clerks and Counsel/Parties:

          Pursuant to Section 17 of the Georgia Uniform Court Rules, as amended, I wish to advise
   each of you of possible conflicts for the attached list of cases for October 17. 2023.
        I hereby certify that I am the only attorney in these cases, and that they cannot be
adequately handled, nor my clients' interest adequately protected, by any other attorney. I,
therefore, pursuant to Rule 17 of the Uniform Rules, request that the Court note the referenced
conflicts.


        The cases are listed in the order in which I plan on appearing via videoconference or in
person. Thank you for your assistance in this matter.
                                                                    Very truly yours.




                                                                    doseph M. Todd
                                                                    Georgia Bar No. 713750

JMT/jdp
Enclosure


cc:     Clerk, Dekalb State (via e-file)
        Clerk, US District Court (via e-file)
        Clerk, Fayette Superior (via fax 770-716-4868)
        Clerk, Butts Superior (via e-file)
        Clerk, Henry State (via e-file)
        Tawanna Hopson, Esq. (via email tawanna.hopson@statefarm.com)
        Jay Brown, Esq. (via email iav.brown@libertvmutual.com)
        Bret Hobson, Esq. (via email bret.hobson@.usdoi.gov)
        Marie G. Broder, Esq. (via email mbroder@favettecountvaa.gov)
        Elizabeth O’Neal, Esq. (via email eoneal@smithwelchlaw.com)
        LaShawn Terry, Esq. (via email lashawn.terrv@allstate.com)
        John A. Hanney, Esq. (via email john.hannav@.amfam.com)
        Milton Clanton
                               JOSEPH M. TODD -CONFLICT LETTER FOR OCTOBER 17, 2023
                            ** CASES ARE LISTED IN THE ORDER OF ATTORNEY'S APPEARANCE**

Date/Time         Court              Judge               Case            Hearing     Opposing Counsel/Party           Clerk
                                                                          Type
10/17/23     Dekalb County     Honorable       Ison V. Barnes et al    Jury Trial    Jay Brown, Esq.          Clerk, Dekalb
8:30 a.m.    State Court       Alvin T. Wong   20A80189                              Tawanna Hopson, Esq.     State


10/17/23     US District       Honorable       USA V. James Wan        Plea          Bret Hobson, Assistant   Clerk, US
9:30 a.m.    Court             Leigh Martin    Criminal Action No.     Hearing       US Attorney              District Court
                               May             1:22-CR-188


10/17/23     Fayette County    Honorable       State v, Anderson       Preliminary   Fayette County DA        Clerk, Fayette
9:30 a.m.    Superior Court    Presiding       2023MCR-01130           Hearing                                Superior
                               Judge

10/17/23     Butts County      Honorable       Wesley v. Wesley        Status        Elizabeth O’Neal, Esq.   Clerk, Butts
9:00 a.m.    Superior Court    Thomas          2022-V-0164 W           Conference                             Superior
                               Wilson


10/17/23                                       Brown Repress v. Lord   Deposition    LaShawn Terry, Esq.
10:00 a.m.                                     et al                                 John A. Hanney, Esq
                                               23EV002670


10/17/23     Henry County      Honorable       JMT V. Clanton          Motion        Milton Clanton, Pro Se   Clerk, Henry
1:30 pm      State Court       Vincent Lotti   STSV2022001658          Hearing                                State
